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                   IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

 RONALD VIERNES,                         CIVIL NO. 1:19-CV-00316 JMS-KJM
 and all others similarly situated,
                                        DEFENDANT DNF ASSOCIATES,
                     Plaintiff,         LLC’S REPLY MEMORANDUM IN
       vs.                              FURTHER SUPPORT OF MOTION

 DNF ASSOCIATES, LLC,                    Trial: April 26, 2021
                                         Judge: Honorable J. Michael Seabright
                     Defendant.
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                          PRELIMINARY STATEMENT

       Defendant DNF Associates, LLC’s (“DNF”) motion to dismiss and to

 decertify (“the Motion”) demonstrated that Plaintiff Ronald Viernes (“Plaintiff”) has

 not suffered a concrete injury traceable to the fact DNF did not have a debt collection

 license. In his opposition (the “Opposition”), Plaintiff concocts a new theory of

 harm, the very act of being subjected to an “unlawful” lawsuit.

       Shockingly, Plaintiff concedes he will not seek emotional distress or postage

 costs as damages on behalf of the class members. Given that Plaintiff admits, for the

 first time in Opposition to the Motion, he is not seeking actual damages on behalf of

 the classes, the HRS § 443B-3 cause of action fails and the Hawaii Class must be

 decertified. Moreover, if the members of the Fair Debt Collection Practices Act

 (“FDCPA”) class cannot prevail on their claim pursuant to HRS § 443B-3, their

 FDCPA claims fail, or at the very least, are not actionable in federal court.

       Regardless, Plaintiff’s purported injuries still falls short. Plaintiff conflates

 unlawful with unauthorized so he can shoehorn his claim into a type of harm he can

 argue has traditionally served as a basis for a lawsuit. As detailed below, Plaintiff

 fails to do so because being subject to a lawsuit by an unlicensed plaintiff is not

 closely related to a traditionally recognized tort. Similarly, Plaintiff’s arguments

 regarding emotional distress and postage fall short of establishing a basis for

 standing.


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                                     ARGUMENT

 I.    Plaintiff’s admission that he will not seek actual damages on behalf of the
       classes is fatal to this lawsuit continuing on a class basis

       As the Court is aware, the alleged conduct at issue is that DNF did not register

 as a debt collector pursuant to HRS § 443B-3. To prevail on that claim, Plaintiff, and

 the members of the class, must demonstrate independent damages separate from the

 violation. See HRS § 480-13; Sambor v. Omnia Credit Servs., Inc., 183 F. Supp. 2d

 1234, 1244 (D. Haw. 2002); Flores v. Rawlings Co., LLC, 117 Haw. 153, 167, 177

 (2008).

       In his Opposition, Plaintiff states “[a]lthough Plaintiff’s emotional distress

 and postage is personal to himself, he does not intend to rely on those injuries to

 establish class-wide liability or damages.” (Doc. 129, p. 34). If Plaintiff is no longer

 pursuing damages, outside of the mere fact that there was a violation, on behalf of

 the Hawaii Class, the cause of action fails because no member of that class can prove

 independent damages separate from the violation, a required element of the claim.

       Moreover, if the members of the FDCPA class cannot prevail on their claim

 pursuant to HRS § 443B-3, their FDCPA claims also fail. Plaintiff contends that

 DNF violated 15 U.S.C. § 1692e and e(2) by commencing a collection lawsuit

 without a license in violation of HRS § 443B-3. As detailed above, if the members

 of either class cannot demonstrate damages, they cannot prevail on their Hawaii

 statutory claim. Plaintiff is therefore using the FDCPA to regulate and enforce a state
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 statute that, under these circumstances, is no longer actionable. DNF submits the

 Court need to look no further than this point to hold there is no class wide standing.

 The allegation that the injury purportedly stems from – being subject to a lawsuit –

 is not actionable without proof of additional damages. As a result, Plaintiff and the

 members of the Classes cannot demonstrate an injury in fact and this lawsuit must

 be dismissed.

 II.   Being subjected to a lawsuit by a licensed plaintiff is not sufficient to
       create a concrete injury

       i.     Being subjected to a lawsuit from an unlicensed party is different than
              the “common-law unjustifiable-litigation torts” stated in opposition

       Notwithstanding Part I supra, Plaintiff still fails to establish standing. In order

 to argue he has standing, Plaintiff equates the purported harm suffered from DNF’s

 failure to obtain a collection license with the harms associated with the traditionally

 recognized torts of malicious prosecution, abuse of process, malicious use of

 process, unauthorized lawsuit, tortious interference with business relations,

 maintenance and champerty.

       Plaintiff must show there is a “close relationship” between the alleged harm

 caused by DNF’s actions and a harm traditionally recognized under these common

 law causes of action. TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2210 (2021); In

 re FDCPA Mailing Vendor Cases, 2021 WL 3160794, at *6 (E.D.N.Y. July 23,

 2021). The common law torts that Plaintiff relies on, however, are nothing like the


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 claim at issue, and therefore provide no basis to establish Plaintiff’s standing under

 Article III. The shared defining characteristic among the torts put forth is a meritless

 claim pursued with evil intent.

       Plaintiff relies on Baglini v. Lauletta, 338 N.J. Super. 282 (App. Div. 2001)

 to draw a similarity between a claim for malicious use of process and engaging in

 collection activities without a state license. The two claims bear no resemblance to

 each other. “A plaintiff in a malicious use of process case must prove four elements:

 that the original action complained of (1) was brought without probable cause; (2)

 was actuated by malice; (3) was terminated favorably to plaintiff; and (4) that

 plaintiff suffered a special grievance.” Baglini, 338 N.J. Super. at 299. Here, Plaintiff

 does not, and cannot claim DNF acted with malice or that the lawsuit was meritless.

       Plaintiff references an obscure tort recognized in Illinois, a claim for an

 unauthorized lawsuit, which permits recovery for defending an action that was

 brought without the named plaintiff’s authority. Safeway Ins. Co. v. Spinak, 267 Ill.

 App. 3d 513, 641 (1994). As stated in Eul v. Transworld Sys., 2017 WL 1178537, at

 *21 (N.D. Ill. Mar. 30, 2017), which Plaintiff relies on, to state a claim under this

 tort it must be demonstrated that the plaintiff did not have knowledge or give consent

 to file the lawsuit. Eul, 2017 WL 1178537, at *21. Here, there is no allegation that

 DNF did not know, or did not consent, to the lawsuit.

       Plaintiff points to the tort of abuse of process, which provides a remedy where


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 a “legal procedure has been set in motion in proper form, with probable cause, and

 even with ultimate success, but nevertheless has been perverted to accomplish an

 ulterior purpose for which it was not designed.” Richardson v. Rutherford, 787 P.2d

 414, 420–21 (1990). Stated differently, the claim exists only when the party asserting

 the claim has an ulterior motive for bringing the lawsuit, not a procedural defect.

 Here, there is no allegation that DNF did not have a good faith basis for filing suit

 or that it did so with some ulterior motive.

       Plaintiff tries to draw similarities between this lawsuit and a claim for

 malicious prosecution. To succeed on a claim for malicious prosecution, however, a

 plaintiff must show that the prior proceedings were initiated with malice. Isobe v.

 Sakatani, 127 Haw. 368, 378 (Ct. App. 2012). Here, Plaintiff does not contend that

 DNF’s initiation of the lawsuit was undertaken with any malicious intent.

       The above examples demonstrate why Plaintiff’s conflation of unlawful and

 unauthorized is critically flawed. Plaintiffs newly raised common law theory is built

 on intentional, unlawful litigation that lacks merit. The underlying lawsuit in this

 case is devoid of those allegations. Specifically, Plaintiff does not contend DNF

 intentionally took any act with malice or improper intent. To the contrary, Plaintiff

 admits he owes the debt and he admits DNF is the creditor. The only impropriety

 apparent in the lawsuit was that DNF did not obtain a license prior to proceeding –

 a procedural flaw that had no bearing on the merits of the claims asserted.


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       Plaintiff does not cite to a single case holding that commencement of a lawsuit

 without a license required by state law bears a close relationship to a traditionally

 recognized harm. Nor could he. The FDCPA is not an enforcement mechanism for

 matters governed elsewhere by state and federal law. Bentrud v. Bowman, Heintz,

 Boscia & Vician, P.C., 794 F.3d 871, 875 (7th Cir. 2015); Eul, 2017 WL 1178537,

 at *3. The Court needs to look no further than how the Hawaii courts interpret and

 analyze unlicensed collection pursuant to HRS chapter 443B. The Hawaii Supreme

 Court has held collecting a debt without a license cannot, standing alone, be said

 to injure a plaintiff. See Flores, 117 Haw. at 168.

       Plaintiff does not attempt to reconcile the Flores decision with his analysis.

 The very conduct at issue in this lawsuit, alleged unlicensed collection, has been

 determined to be insufficient to establish an injury by the Hawaii Supreme Court. As

 a result, Plaintiff’s new theory of harm is foreclosed by Hawaii courts’ interpretation

 of the Hawaii statute at issue. Plaintiff presents no persuasive authority for the

 proposition that unlicensed collection activity, even in the context of a lawsuit, is a

 traditional harm. To the contrary, the Hawaii Supreme Court has held doing so is

 insufficient to establish an injury. As a result, Plaintiff’s argument should be rejected.

       ii.    The posture at which Plaintiff’s harm is being articulated

       Plaintiff raises his “most obvious and concrete harm” – being subjected to an

 unlawful lawsuit – for the first time in Opposition. (Doc. 129, p. 9). Unsurprisingly,


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 Plaintiff did not raise this harm at his deposition. (Doc. 68-3). Additionally, in

 response to a specific discovery demand relating to the concrete injury he alleges he

 suffered, the harm of being subject to an unlawful lawsuit in conspicuously absent.

 Plaintiff’s response to DNF’s request for admission regarding a concrete injury

 denies the request and states, “on this point states: “I incurred action damages of

 postage in sending a dispute letter to the Defendant.” (Doc. 124-5).

        It is only in his Opposition that Plaintiff raises the alleged harm of being sued

 illegally as the basis for his injury in fact. Although not dispositive, courts are acutely

 wary of claims and arguments raised in this posture. See, e.g., Johnson v. PNC

 Mortg., 2016 WL 861089, at *2 (N.D. Cal. Mar. 7, 2016); Samuel, Son & Co. Inc.

 v. Sierra Stainless, Inc., 2010 WL 4237993, at *5 (D. Nev. Oct. 19, 2010) (declining

 to consider an issue raised for the first time in an opposition to a motion for summary

 judgment where argument was not raised in response to a request for admission.).

        iii.   The injuries Plaintiff articulates regarding being subject to a lawsuit
               are not traceable to his claims against DNF

        Plaintiff’s Opposition brushes past traceability. (Doc. 129, p. 32-33).

 Traceability is, however, a separate element of standing that Plaintiff must

 independently satisfy. Lujan v. Defendants of Wildlife, 504 U.S. 555, 560-61 (1992)

 Plaintiff’s conclusory assertion that there is a “simple line” between DNF’s conduct

 and Plaintiff’s injury is incorrect. (Doc. 129, p. 32). To the contrary, there is a break

 in causation, one that is material and sufficient to warrant dismissal.
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       The parties agree that Article III standing requires a “causal connection

 between the injury and the conduct complained of” – in other words, the injury must

 be fairly traceable to the challenged action of the defendant.” Cordoba v. DIRECTV,

 LLC, 942 F.3d 1259, 1271 (11th Cir. 2019) (quoting Lujan, 504 U.S. at 560-61);

 (Doc. 124-1, p. 23-25). Although Plaintiff is correct that proximate causation is not

 required, there must be a line of causation between the conduct complained of and

 the injury. Allen v. Wright, 468 U.S. 737, 752 (1984), abrogated on other grounds by

 Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118 (2014).

       By broadening his “injury” to “all unlicensed debt collection activity,”

 Plaintiff evades the line of causation required to satisfy traceability. Plaintiff’s

 centrally claimed injury is being subject to a lawsuit, not DNF’s lack of a license.

 Plaintiff admits he owes the debt, admits he did not pay his debt, and does not dispute

 that the law firm who commenced the action was licensed. Whether DNF had a

 collection license was not the cause of Plaintiff’s claimed injuries.

       Although this distinction is nuanced, it is significant. Whether DNF, the

 named Plaintiff in the underlying collection lawsuit, had a license, has no causal

 relationship to the injuries Plaintiff alleges from being sued. Plaintiff, who is clearly

 familiar with the pursuit technical violations on behalf of class actions, makes no

 representation that he knew whether DNF was licensed when he was sued. The act

 of obtaining or not obtaining a license could not have caused Plaintiff emotional


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 distress. It did not cause Plaintiff to incur costs. It did not cause his injuries.

 Ultimately, Plaintiff’s claimed injuries – irrespective of whether DNF maintained a

 collection license –flow from the lawsuit itself.

 III.   Plaintiff’s emotional distress is insufficient to establish standing

        i.    Emotional distress, standing alone, as a concrete injury

        Neither party can cite to binding Ninth Circuit authority that states whether

 emotional distress is sufficient to create a concrete injury to confer standing.

        Plaintiff’s support for his position that emotional damages are sufficient to

 confer standing is limited, almost entirely, on the Sixth Circuit’s decision in Gerber

 v. Herskovitz, 14 F.4th 500, 507 (6th Cir. 2021). Notably, Gerber does not deal with

 the FDCPA, or any other consumer protection statute. Instead, it pertained to a

 lawsuit brought by the Beth Israel Synagogue against anti-Israel protesters who have

 picketed and protested the Synagogue every weekend for 935 straight weeks. Id. at

 *504. The congregants filed a lawsuit alleging, inter alia, extreme emotional distress

 from being subjected to the protests. Id. at *505. Although DNF does not dispute

 Gerber’s holding, the factual undercurrents and supported allegations of actual

 emotional distress, are very different from the instant lawsuit.

        DNF’s Motion cited to numerous cases, in both the district and circuit courts,

 that have held garden variety emotional distress in the context of consumer

 protection litigation is insufficient to confer standing. (Doc. 124-1, p. 20-21). It will


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 not re-hash those cases in reply, but it submits that the Court should follow those

 well-reasoned decisions.

       ii.    Plaintiff’s claimed emotional distress in this lawsuit

       DNF’s Motion argued that even if the Court determines Plaintiff’s alleged

 emotional distress could constitute a concrete injury, Plaintiff’s particular

 contentions of emotional distress are insufficient. Understanding he could not

 dispute DNF’s argument, Plaintiff attempted to remedy his shortcoming with a last-

 minute Declaration, which, in conclusory fashion, states the types of emotional

 distress he alleges he suffered.

       “The general rule in the Ninth Circuit is that a party cannot create an issue of

 fact by an affidavit contradicting his prior deposition testimony.” Kennedy v. Allied

 Mut. Ins. Co., 952 F.2d 262, 266 (9th Cir.1991). Plaintiff reasons that his basis for

 failing to testify to his emotional distress, a damage he is claiming in this lawsuit,

 was purported confusion in understanding the questions he was asked. This

 confusion was apparently not realized at the deposition or when Mr. Viernes and his

 counsel reviewed the deposition and made thirteen changes on the Errata Sheet.

 Coincidentally, it was only uncovered after DNF moved to dismiss for lack of

 standing.

       Regardless, Plaintiff’s Declaration does not help his cause. Plaintiff bears the

 burden to demonstrating emotional distress. As the Seventh Circuit has stated,


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 “when the injured party's own testimony is the only proof of emotional damages, he

 must explain the circumstances of his injury in reasonable detail; he cannot rely on

 mere conclusory statements.” Denius v. Dunlap, 330 F.3d 919, 929 (7th Cir. 2003);

 see also Ruffin-Thompkins v. Experian Information Solutions, Inc., 422 F.3d 603,

 610 (7th Cir. 2005). Claims for emotional damages must be supported by competent

 evidence. Smart v. Emerald City Recovery, LLC, 2019 WL 366205, at *2 (W.D.

 Wash. Jan. 30, 2019).

       Plaintiff includes three paragraphs in his Declaration regarding emotional

 distress, listing buzzwords associated with garden variety emotional distress,

 without any supporting detail. Just saying you are emotionally distressed, without

 support, is insufficient. Plaintiff does not substantiate his categorical conclusion that

 he suffered emotional distress. As a result, Plaintiff cannot satisfy his burden in this

 regard, regardless of his “clarifying” Declaration in Opposition to the Motion.

       iii.   Plaintiff’s claimed emotional distress in this lawsuit is not traceable to
              DNF’s failure to obtain a license

       Contrary to the arguments put forth in Plaintiff’s Opposition, the only well-

 articulated testimony about the traceability of his distress is with regard to the stress

 associated with the instant litigation. (Doc. 68-3, p. 29, ln. 14-21). Plaintiff’s

 Opposition relies on a single sentence from Plaintiff’s Declaration to conclude any

 emotional distress was traceable to DNF’s actions, stating “all of these symptoms



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 were a result of Defendant’s unlawful debt collection efforts, not any other cause.”

 (Doc. 129-1). It is difficult to imagine a more conclusory statement.

       As detailed in Part II(iii) supra, Plaintiff’s claimed emotional distress is not

 traceable to DNF’s failure to obtain a license, it relates to being subjected to a

 lawsuit. Although being sued is stressful, the lawsuit was not unlawful, and it was

 not meritless. Plaintiff does not plausibly contend that a failure to comply with

 Hawaii law in obtaining a license had any impact on his purported distress. As a

 result, dismissal is required.

 IV.   Plaintiff’s postage costs are insufficient to establish standing

       In its Motion, DNF puts forth two arguments regarding Plaintiff’s “postage

 damages.” First, postage is not a taxable cost in an FDCPA action. Second, Plaintiff’s

 postage costs are not otherwise a recoverable damage. Plaintiff’s Opposition

 dismisses DNF’s argument about postage not being a recoverable cost pursuant to

 28 U.S.C. § 1920 as a red herring. It is not. Instead, it speaks to the very reason why

 Plaintiff cannot recover damages for his postage costs in this lawsuit.

        As postage is not a recoverable cost, whether it is a recoverable damage to

 create an injury depends on the reason the postage cost was incurred. Plaintiff’s

 argument relies solely on one case, Moritz v. Daniel N. Gordon, P.C., 895 F. Supp.

 2d 1097 (W.D. Wash. 2012). Moritz, however, did not even analyze this issue

 pursuant to the FDCPA, it did so with regard to specific elements of Plaintiff’s cause


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 of action for a violation of the Washington Consumer Protection Act. Id. at *1115.

 Moritz has no bearing on whether postage is recoverable in an FDCPA action.

       DNF cited a case in the District of Hawaii that actually analyzed postage as a

 damage in the context of the FDCPA, the statute at issue in this action. Plaintiff’s

 reading of Sambor, 183 F. Supp. 2d 1234 is too narrow and as a result, misplaced.

 The Court in Sambor did not condition its refusal to permit recovery of postage on

 causation – it did so based on that fact that postage was incurred in order to comply

 with 15 U.S.C. § 1692g(b). Sambor, 183 F. Supp. 2d at *1241. Because the postage

 costs were incurred to comply with the law, it was not recoverable. Id. Similarly,

 here, Plaintiff’s postage cost was incurred to send dispute and verification requests

 to DNF and Mandarich Law, in compliance with the FDCPA. (Doc. 124-4). As a

 result, they are not recoverable and do not create a basis for standing.

 V.    The Classes should be decertified

       In his Opposition, Plaintiff has now articulated three claimed damages: (1)

 being subject to a lawsuit; (2) the emotional distress that resulted from being subject

 to a lawsuit; and (3) postage costs. (Doc. 129).

       i.     Plaintiff’s claimed damages are not typical of the Classes and
              requires decertification

       As stated in Part I supra, Plaintiff’s concession that he will not rely on

 emotional distress and postage costs to prove damages on a class wide basis requires

 decertification of the Classes.
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       As detailed in Part II supra, being subject to a lawsuit where there is a

 procedural error, such as the failure to obtain a license pursuant to a state law, is not

 sufficient to establish an injury in fact. As a result, it cannot serve as a basis to

 establish standing on a class wide basis.

       The parties agree, Plaintiff’s other damages, emotional distress and postage

 costs – are unique to him. (Doc. 129, p. 34). As a result, there is no dispute that those

 damages cannot form the basis for class wide standing. Without Plaintiff’s flawed

 theory of “being subject to an unauthorized lawsuit,” Plaintiff is left only with

 individualized and fact specific purported injuries, which require an individual mini

 trial for each class member to determine whether each class member suffered a

 concrete injury as a result of DNF’s failure to obtain a collection license.

       ii.    Plaintiff’s arguments in his Opposition render him an inadequate class
              representative

       Plaintiff admits that his claimed damages are not typical of the other members

 of the class. As a result, Plaintiff is unilaterally abandoning a claim for damages

 available to the classes, such as emotional distress and postage, to grease the wheels

 of class certification at the expense of being able to prevail on their claims.1

       Representative plaintiffs who seek different relief than what is available to the

 other members of the class, or who unilaterally forego potential relief for other class


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   The issue of adequacy is being raised for the first time in reply as a result of
 Plaintiff’s position in Opposition.
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 members, create an insurmountable conflict between his or her own interest and the

 interests of the class he or she seeks to represent. See, e.g., Rader v. Teva Parenteral

 Medicines, Inc., 276 F.R.D. 524, 529 (D. Nev. 2011); In re Universal Serv. Fund

 Tel. Billing Pracs. Litig., 219 F.R.D. 661, 669 (D. Kan. 2004)

       In order to proceed on a class-wide basis, Plaintiff cannot seek actual damages

 on behalf of the classes, despite doing so in his own personal capacity. In making

 that determination, Plaintiff sacrifices recovery for the other class members, for what

 is at best a dubious strategic purpose. In short, Plaintiff’s statement in Opposition

 regarding which damages will be pursued individually and, on a class wide basis,

 make him an inadequate class representative.

                                    CONCLUSION

       For the reasons above, as well as in DNF’s Motion, Plaintiff and the members

 of the classes do not have standing.

       Dated:        Buffalo, New York, December 8, 2021

                            /s/ Brendan H. Little
                            Brendan H. Little, Pro Hac Vice
                            Andrew James Lautenbach, Esq.

                            Attorneys for Defendant DNF Associates, LLC




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